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   EXHIBIT 1
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1                        UNITED STATES DISTRICT COURT
2                     NORTHERN DISTRICT OF CALIFORNIA
3
4       ANIBAL RODRIGUEZ, JULIEANNA                      )
        MUNIZ, ELIZA CAMBAY, SAL                         ) Case No.:
5       CATALDO, EMIR GOENAGA, JULIAN                    ) 3:20-cv-04688
        SANTIAGO, HAROLD NYANJOM, KELLIE                 )
6       NYANJOM, and SUSAN LYNN HARVEY,                  )
        individually and on behalf of all                )
7       others similarly situated,                       )
                                                         )
8                           Plaintiffs,                  )
               vs.                                       )
9                                                        )
        GOOGLE LLC,                                      )
10                                                       )
                            Defendant.                   )
11      -----------------------------------)
12
13
14          ***HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY***
15                        REMOTE PROCEEDINGS OF THE
16           VIDEOTAPED DEPOSITION OF CHRISTOPHER RUEMMLER
17                        FRIDAY, SEPTEMBER 9, 2022
18
19
20
21
22
23      REPORTED BY NANCY J. MARTIN
24      CSR. NO. 9042, RMR, RPR
25      PAGES 1-235

                                                                Page 1

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1                       UNITED STATES DISTRICT COURT
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4       ANIBAL RODRIGUEZ, JULIEANNA                      )
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6       NYANJOM, and SUSAN LYNN HARVEY,                  )
        individually and on behalf of all                )
7       others similarly situated,                       )
                                                         )
8                          Plaintiffs,                   )
              vs.                                        )
9                                                        )
        GOOGLE LLC,                                      )
10                                                       )
                           Defendant.                    )
11      -----------------------------------)
12
13
14          ***HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY***
15
16
17                                      - - -
18                        Friday, September 9, 2022
19                                      - - -
20
21            Remote Videotaped Deposition of CHRISTOPHER
22      RUEMMLER, beginning at 9:40 a.m., before Nancy J.
23      Martin, a Registered Merit Reporter, Certified
24      Shorthand Reporter.        All parties appeared remotely.
25

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         ANTHONY GALINO, LEGAL VIDEOGRAPHER
21
22
23
24
25

                                                               Page 3

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1       where WAA off data is stored?
2              A.   No, I have not.
3              Q.   Have you spoken with other Google employees
4       about how WAA off data is stored?
5              A.   Probably.      I can't name anybody in
6       particular.
7              Q.   Do you see in the Exhibit 7 E-mail where you
8       wrote, "However, given the way on/off works, one has
9       to then assume that disabled, off, would be the exact
10      opposite of what is described for what happens when
11      the WAA bit is on"?
12             A.   What part -- what page are we on?
13             Q.   The first page, kind of square in the middle
14      of the page.        The sentence begins with, "However."
15             A.   "However, given the way on/off works."              That
16      one?
17             Q.   Yes.
18             A.   Yeah.     This was my misunderstanding that I
19      didn't know the data was saved anonymously even with
20      WAA off.
21             Q.   When you wrote the word "one," what did you
22      mean by "one"?
23             A.   Where is "one"?
24             Q.   In the same sentence.
25             A.   Okay.     Someone?      I mean, it's pretty vague.

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1       I mean "one" is just a generic -- generalization, I'd

2       say.

3              Q.   Were you referring to Google engineers?

4              A.   It could have just been, you know, in

5       general, like anybody; right?            One.      You know,

6       someone.     One.   Like I said, this was like a

7       misunderstanding here.        Like I didn't understand how

8       the WAA off actually worked back then.

9              Q.   Prior to sending this E-mail, had you done

10      any work to try to better understand how WAA off

11      worked back then?

12             A.   I'm not sure if I did particular work or not.

13      I asked a lot of questions, apparently, in these

14      E-mails.     I was doing some work.

15             Q.   And you had reviewed the WAA help page;

16      correct?

17             A.   I had read the WAA help page, yes.

18             Q.   Why would one assume that disabled, off,

19      would be the exact opposite of what is described for

20      what happens when the WAA bit is on?

21             A.   Given my background in Workspace, where

22      everything is GAIA keyed, GAIA tied, if we had a

23      control and it was off, it would effectively not be

24      able to store data anywhere because we don't have any

25      use for the data otherwise; right?                So that's my

                                                                       Page 80

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1                  document.)

2       BY MR. FRAWLEY:

3             Q.   You wrote these two paragraphs; right?          The

4       ones that begin, "So, it appears," and then the next

5       one, "The temp GAIA"?

6             A.   Let me read them.         Hold on.

7                  (WHEREUPON the witness further the reviewed

8                  document.)

9                  THE WITNESS:      Okay.      What's the question?

10      BY MR. FRAWLEY:

11            Q.   Did you write those two paragraphs?

12            A.   Yes, I did.

13            Q.   When you wrote, "It appears we have a real

14      problem here with accurately describing what happens

15      when WAA is disabled," by "we," you meant Google;

16      right?

17            A.   I don't know if I meant Google exactly, but

18      Google or, you know, internal to, you know, our

19      employees or, you know, the Workspace team or, you

20      know, any of these.

21            Q.   Were you focused on how internal Google

22      employees described WAA to each other, or were you

23      focused on how Google describes WAA to external users?

24            A.   I was -- to be honest, I was probably focused

25      on external because I care quite a bit about the user;

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1       right?       I don't know for sure, but like, you know,

2       that wouldn't be surprising.

3                     But, again, this is data that's my

4       misinterpretation of what was going on here.                  I

5       thought the data was GAIA tied.              Right.      If you're

6       seeing the data off of GAIA information and it's tied

7       to the user directly, that was my misunderstanding

8       here.

9               Q.    I just want to clarify.         Do you mean that at

10      this time you believe that all data that Google

11      collected is GAIA -- was GAIA tied?

12                    MR. SANTACANA:     Objection.          Misstates prior

13      testimony.       Compound.

14                    THE WITNESS:     I don't know what that -- what

15      you're referring to.         You need to -- you said like

16      everything.

17      BY MR. FRAWLEY:

18              Q.    Yeah, I mean everything.             That's exactly what

19      I mean.       Was your impression at this time that all the

20      data that Google collects from any sort of -- all the

21      data that Google collects, big picture, was it your

22      impression that all of that data was GAIA tied?

23                    MR. SANTACANA:     Objection.          Misstates prior

24      testimony.

25                    THE WITNESS:     Yeah.    I work in Workspace and

                                                                      Page 85

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1             Q.   No, no, no.     "I for one didn't realize Google

2       actually stored all of My Activity."

3             A.   Oh, further down.       Okay.         Hold on.

4             Q.   Yeah.

5             A.   Okay.   Yeah.    I read the whole rest of this

6       paragraph.     This is all about me thinking the data is

7       GAIA tied because I make a comment down below about 60

8       days and then no better off and that all has to do

9       with GAIA-tied data.       So I'm totally in the mindset

10      here that this data is GAIA tied.

11            Q.   What does 60 days have to do with the data

12      being GAIA tied?

13            A.   60 days is temp, is usually a temporary

14      storage.     For instance, what we consider like

15      temporary.

16            Q.   Do you see the next paragraph where you

17      wrote, "The WAA and other controls imply we don't log

18      the data, but obviously we do"?

19            A.   Yes.

20            Q.   What did you mean by "log the data"?

21            A.   I don't know what I meant by "log" back then.

22      Again, it's 2019.     I got to read the whole paragraph

23      again.

24                 (The witness reviewed the document.)

25                 THE WITNESS:     Again, this is my

                                                                    Page 115

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1        misunderstanding about GAIA tied versus non-GAIA tied

2        and collecting anonymous data versus GAIA-tied data.

3        BY MR. FRAWLEY:

4             Q.    So at the time you knew that Google was

5        collecting anonymous data?

6             A.    I don't know from back here what I knew and

7        didn't know in terms of that.           But there was obviously

8        some confusion in here on what was GAIA tied and what

9        wasn't GAIA tied.

10            Q.    Was there also confusion about what was

11       collected and what wasn't collected?

12            A.    I believe so at the time, yeah.           I asked lots

13       of questions about things and what was collected and

14       what wasn't collected.       But, again, I don't work on

15       the product.    That's why I had to ask questions;

16       right?    I don't work on the product.           And, again, I'm

17       coming at this from a Workspace, you know, mindset,

18       Gmail mindset and trying to make sure Gmail's data is

19       handled properly.

20            Q.    Did you say anywhere in this E-mail that you

21       were only concerned about Gmail data?

22            A.    I have to read the whole thing.

23                  (The witness reviewed the document.)

24                  THE WITNESS:    So far I haven't seen Gmail

25       anywhere, but that doesn't mean I wasn't concerned

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